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13

14                                   UNITED STATES DISTRICT COURT

15                                 NORTHERN DISTRICT OF CALIFORNIA

16                                          SAN JOSE DIVISION

17   MATT JONES; BRYSON DECHAMBEAU;                     Case No. 5:22-cv-04486-BLF (SVK)
     PETER UIHLEIN; and LIV GOLF, INC.,
18                                                      ADMINISTRATIVE MOTION TO FILE
                    Plaintiffs,                         UNDER SEAL AND TO CONSIDER
19                                                      WHETHER ANOTHER PARTY’S
               v.                                       MATERIAL SHOULD BE SEALED
20
     PGA TOUR, INC.,                                    Judge:     Hon. Susan van Keulen
21
                    Defendant.                          Date Filed: August 3, 2022
22
                                                        Trial Date: January 8, 2024
     PGA TOUR, INC.,
23
                    Counterclaimant,
24
               v.
25
     LIV GOLF, INC.,
26
                    Counterdefendant.
27

28


                                  ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                         Case No. 5:22-cv-04486-BLF (SVK)
     2036237
      Case 5:22-cv-04486-BLF Document 208 Filed 01/09/23 Page 2 of 3



 1             Pursuant to Civil Local Rule 79-5(f) and the Protective Order entered by this Court, Dkt.

 2   111, Defendant/Counterclaimant PGA Tour, Inc. (“the TOUR”) respectfully submits this

 3   Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed,

 4   regarding two exhibits to the Declaration of Maile Yeats-Rowe filed in support of the TOUR’s

 5   Administrative Motion to File Supplemental Material in support of its Motion to Compel

 6   Subpoena Compliance from the Public Investment Fund of the Kingdom of Saudi Arabia and

 7   Yasir Othman Al-Rumayyan filed concurrently herewith (“Yeats-Rowe Declaration”).

 8             Specifically, the documents subject to this Administrative Motion include:

 9
                                             Portions of Document               Parties Claiming
                  Document
10                                                to be Sealed                   Confidentiality

11     Exhibit A to Yeats-Rowe              Entirety                         LIV Golf, Inc.
       Declaration
12
       Exhibit B to the Yeats-              Highlighted portions             LIV Golf, Inc.
13
       Rowe Declaration
14

15             Exhibit A to the Yeats-Rowe Declaration is a Shareholders’ Agreement produced by

16   Plaintiff and Counterdefendant LIV Golf, Inc. (“LIV”) in response to the TOUR’s First Set of

17   Requests for Production of Documents. LIV designated this document “CONFIDENTIAL –

18   ATTORNEYS’ EYES ONLY” pursuant to the applicable Protective Order, Dkt. 111, in this

19   action. Exhibit B to the Yeats-Rowe Declaration is a proposed Supplemental Memorandum in

20   support of the TOUR’s Motion to Compel Subpoena Compliance from PIF and Mr. Al-

21   Rumayyan and Opposition to PIF and Mr. Al-Rumayyan’s Motion to Quash (“Supplemental

22   Memorandum”). The highlighted portions of proposed Supplemental Memorandum contain

23   references to the Shareholders’ Agreement.

24             The TOUR does not have an interest in confidential treatment of the Shareholders’

25   Agreement or the information contained in the highlighted portions of its proposed Supplemental

26   Memorandum. The TOUR makes this request solely because LIV has designated this information

27   as confidential under the applicable Protective Order. Nevertheless, in compliance with its

28   Protective Order obligations and the Civil Local Rules of this District, the TOUR is submitting

                                                        1
                                ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                       Case No. 5:22-cv-04486-BLF (SVK)
     2036237
      Case 5:22-cv-04486-BLF Document 208 Filed 01/09/23 Page 3 of 3



 1   under seal, along with this Administration Motion, an unredacted copy of the documents

 2   referenced above pursuant to Civil Local Rules 79-5(d) and 79-5(e).

 3
     Dated: January 9, 2023                               KEKER, VAN NEST & PETERS LLP
 4

 5
                                                    By:   /s/ Elliot R. Peters
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                                     Case No. 5:22-cv-04486-BLF (SVK)
     2036237
